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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA


 Midwest Sign & Screen Printing Supply           Civil File No.
 Co.,

                         Plaintiff,

 v.                                                        COMPLAINT

 Robert Dalpe and Laird Plastics, Inc.,

                         Defendants.



        Plaintiff Midwest Sign & Screen Printing Supply Co., for its Complaint in this

matter, hereby states as follows:

                            OVERVIEW OF THE ACTION

         1.   This action seeks to remedy substantial and ongoing harm sustained by

Plaintiff, Midwest Sign & Screen Printing Supply Co.("Midwest") to its sign and screen

printing supply business as the result of numerous illegal and improper actions taken by

Defendants Robert Dalpe ("Dalpe") and Laird Plastics, Inc. ("Laird") (collectively,

"Defendants").

         2.   Dalpe was employed by Midwest from July 18, 2011 through March 8, 2019

in various high-level client-facing sales and operations management positions.

         3.   During his employment with Midwest, Dalpe was intimately involved in

managing the operations of the company and building direct customer relationships first at

its Hayward, California branch as its Operations Manager, and later at its Portland, Oregon



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and Seattle, Washington branches as its Northwest Sales Manager. As a result, Dalpe

obtained valuable confidential, proprietary and trade secret information belonging to

Midwest regarding its customers, potential customers, its pricing strategy, suppliers,

operations and its employees.

          4.   In consideration for his 2015 promotion to the Northwest Sales Manager

position, Dalpe entered into a noncompetition, nonsolicitation, and confidentiality

agreement with Midwest, whereby he agreed to, among other restrictions, not compete with

Midwest, not to solicit Midwest's customers or employees, and not to disclose or

misappropriate Midwest's confidential, proprietary, or trade secret information.

          5.   On or around February 25, 2019, Dalpe gave Midwest notice that he was

resigning his employment with Midwest effective March 8, 2019. He informed Midwest

he had accepted employment with Laird, one of Midwest's direct competitors, and that he

intended to work in the same geographic area in which he had worked for Midwest. Such

employment is a direct violation of the noncompetition provision.

          6.   In the months leading up to his resignation, unbeknownst to Midwest at the

time, Dalpe accessed Midwest's confidential information, including but not limited to,

extensive customer lists including product purchase and sales data, revenue reports, and

internal meeting agendas and he emailed the confidential information from his Midwest e-

mail account to his own personal e-mail account, which is a direct violation of the

confidentiality provision and violates Midwest's written employment policy protecting its

confidential and trade secret information.

          7.   Three days after Dalpe gave his notice of resignation, Midwest through


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counsel—apprised Laird of Dalpe's post-employment obligations that would prohibit

Dalpe from performing work for a competitor of Midwest, sought assurances from Laird

that it would not interfere in Dalpe's obligations to Midwest, and requested clarification

from Laird as to what Dalpe's intended job duties would be. The same notice and requests

were made of Dalpe through Midwest's counsel.

         8.      Instead   of abiding   by the    non-competition, non-solicitation   and

confidentiality covenants, Dalpe began working for Laird in the capacity of General

Manager of Laird's Portland, Oregon branch location. Despite its knowledge of the non-

competition, non-solicitation and confidentiality covenants that Dalpe is bound by, Laird

knowingly retained Dalpe's services.

         9.      By letter dated March 13, 2019, Midwest, through counsel, again

communicated to Laird the grave concerns it had with the fact that Laird was seemingly

choosing to continue to employ Dalpe in knowing violation of Dalpe's agreement with

Midwest.

          10.    In this same March 13, 2019 letter, Midwest advised Laird that it had

discovered that Dalpe had sent substantial amounts of Midwest's confidential and trade

secret information to his own personal e-mail account without authorization shortly before

his employment with Midwest ended. Midwest asked for reasonable assurances that the

information would be returned, and that Dalpe's devices be turned over to Midwest for

investigation.

          1 1.   To date, Laird has refused to honor Midwest's restrictive covenants with

Dalpe or provide the requested assurances, leaving Midwest with no choice but to initiate


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this lawsuit and draw conclusions as to Laird and Dalpe's intentions with regard to Dalpe's

prohibited competition and the converted and misappropriated confidential and trade secret

information.

                        PARTIES,JURISDICTION, AND VENUE

          12.    Midwest is a corporation under the laws of the State of Minnesota with its

principal place of business located in St. Paul, Ramsey County, Minnesota. Midwest's

primary business is to help companies in the screen printing, digital printing, and sign

industries grow their business by offering general consultation services, digital printer

repair and maintenance services, selection consultation and delivery of products including,

but not limited to, acrylics, Alucobond, Dibond, Gatorfoam, Sintra, foamboard, styrene,

banner, and most rigid and flexible industry substrates. Russ May is Midwest's President

and Chief Operating Officer, Pete Weinberg is Midwest's Vice President of Sales, and

Wendy Froelke is Midwest's Director of Human Resources.

          13.    Defendant Dalpe is a former employee of Midwest. Upon information and

belief, Dalpe is a resident and a citizen of Lake Oswego, Clackamas County, Oregon.

           14.   Defendant Laird is a corporation under the laws of the State of Delaware,

with its principal place of business located in Irving, Dallas County, Texas.

           15.   The citizenship of Plaintiff Midwest is entirely diverse from the citizenship

of both Defendants, and the matter in controversy herein exceeds $75,000, exclusive of

interest and costs. This Court therefore has jurisdiction over the parties and the subject

matter ofthis action as provided by 29 U.S.C. § 1332. Defendant Dalpe has also consented

to the exercise of personal jurisdiction by this Court.


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        16.    Plaintiff has brought a claim under the Defend Trade Secrets Act("DTSA"),

18 U.S.C. § 1836; therefore, this Court also has original jurisdiction over the matter as

arising under the laws ofthe United States as provided by 29 U.S.C. § 1331, and this Court

has supplemental jurisdiction over Plaintiff's remaining claims against Defendant in this

matter as they are related and form part ofthe same case or controversy as the DTSA claim

pursuant to 28 U.S.C. § 1367.

        17.    Venue is proper in this district pursuant to 28 U.S.C. § 1391 because

Midwest's principal place of business is in this district and a substantial part of the events

giving rise to the claim occurred within this district.

                               FACTUAL ALLEGATIONS

                           Dalpe's Involvement with Midwest

         18.   On or around June 29, 2011, Midwest hired Defendant Dalpe as its

Operations Manager at Midwest's Hayward, California branch location.

         19.   The initial terms and conditions of Dalpe's employment with Midwest were

outlined in an offer letter dated June 28, 2011 ("Offer Letter"), which was later signed and

accepted by Mr. Dalpe on June 29, 2011.

         20.   The offer ofemployment in the Offer Letter was made contingent on Dalpe's

successful completion of a background check and it was contingent on Dalpe signing a

Confidentiality, Nonsolicitation, and Noncompetition Agreement ("2011 Agreement"), a

copy of which was enclosed with the Offer Letter.

         21.   Dalpe signed the 2011 Agreement on June 29, 2011, which included the

following relevant portions of a noncompetition and nonsolicitation covenant:


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               4. During my employment with you, I will devote my full
               time and energy to furthering your business and I will not
               become affiliated in any capacity with any individual or
               entities who are competing or planning to compete with you at
               that time.

               5. For a period of 12 months after the termination of my
               employment (whether voluntary or involuntary), I will not
               own, work for or assist any entity that offers products or
               services that compete with products or services that you offer.

               6. For a period of 12 months after the termination of my
               employment (whether voluntary or involuntary), I will not
               provide products or services that compete with yours to any
               entity who was a customer of yours during my employment
               with you.

               7. I will not, during the term of my employment or for a
               period of 12 months following the termination of my
               employment, directly or indirectly hire or attempt to hire any
               of your employees or independent contractors, or otherwise
               attempt to induce them to leave their employment with you.

               8. I will provide a copy of this agreement to any employer
               with whom I interview or accept employment within 12months
               of the termination of my employment with you. I agree and
               acknowledge that the restrictions contained in this Agreement
               shall survive the termination of my employment with you.


         22.   In addition, the 2011 Agreement contained the following provision regarding

the nondisclosure of confidential information:

                1. "Confidential information" means any information not
                   generally known by third parties, including your
                   competitors or the general public. It includes (but is not
                   limited to) information about your customers,
                   compensation, products and finances.           I will treat
                   information that is not expressly identified as
                  "confidential" as confidential if, under the circumstances, I
                   know or have reason to know that you intend to keep that
                   type of information confidential.


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                2. I will not, during or after my employment, disclose your
                   confidential information to any other person or entity, or
                   use your confidential information for my own benefit or for
                   the benefit of another, unless you expressly direct me to do
                   SO.


        23.     In consideration for signing the 2011 Agreement, Dalpe was offered, and

accepted, employment with Midwest as its Operations Manager position with an annual

base salary, profit sharing, and a Corporate Margin Goal Bonus Program,and other benefits

described in the Offer Letter.

         24.    Dalpe accepted the terms ofthe Offer Letter and signed both the Offer Letter

and the 2011 Agreement on or around June 29, 2011.

         25.    The 2011 Agreement allowed Midwest to seek injunctive relief and/or any

other remedy allowed by law and collect from Dalpe reasonable attorneys' fees and costs

incurred in enforcing the terms of the 2011 Agreement.

         26.    Over the next several years, Dalpe remained employed by Midwest in the

Operations Manager position where his responsibilities included, but were not limited to,

overall management of the Hayward, California Operations including management of the

warehouse, inventory, will call, delivery, and customer support.

         27.    Dalpe's base salary compensation increased between 2%-10% each year of

his employment with Midwest.

         28.    Dalpe remained in the Operations Manager position from 2011 until April

2015, when Midwest offered, and Dalpe accepted, a promotion to the Northwest Sales

Manager position.

          29.    On or around April 16, 2015, Midwest offered Dalpe this promotion to


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Northwest Sales Manager, which would require him to move to Portland, Oregon ("2015

Promotion Offer"), and Midwest paid for Dalpe's approved moving expenses.

         30.   The 2015 Promotion Offer was contingent upon Dalpe signing a

Confidentiality, Nonsolicitation, and Noncompetition Agreement(the "2015 Agreement"),

a copy of which was enclosed with the 2015 Promotion Offer.

         31.   The 2015 Agreement included the following relevant portions of a

noncompetition and nonsolicitation covenant:

               4. During my employment with you, I will devote my full
               time and energy to furthering your business and I will not
               become affiliated in any capacity with any individual or
               entities competing or planning to compete with you at that
               time.

               5. For a period of 12 months after the termination of my
               employment (whether voluntary or involuntary), I will not
               own, work for or assist any entity that offers products or
               services that compete with products or services that you offer.

               6. For a period of 12 months after the termination of my
               employment (whether voluntary or involuntary), I will not
               provide products or services that compete with yours to any
               entity who was a customer of yours during my employment
               with you.

               7. I will not, during the term of my employment or for a
               period of 12 months following the termination of my
               employment, directly or indirectly hire or attempt to hire any
               of your employees or independent contractors, or otherwise
               attempt to induce them to leave their employment with you.

               8. I will provide a copy of this agreement to any employer
               with whom I interview or accept employment within 12
               months ofthe termination of my employment with you. I agree
               and acknowledge that the restrictions contained in this
               Agreement shall survive the termination of my employment.



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           32.   In addition, the 2015 Agreement contained the following provision regarding

the nondisclosure of confidential information:

                 1. "Confidential information" means any information not
                    generally known by third parties, including your
                    competitors or the general public. It includes (but is not
                    limited to) information about your customers,
                    compensation, products and finances.           I will treat
                    information that is not expressly identified as
                   "confidential" as confidential if, under the circumstances, I
                   know or have reason to know that you intend to keep that
                   type of information confidential.

                 2. I will not, during or after the term of my employment,
                    disclose your confidential information to any other person
                    or entity, or use your confidential information for my own
                    benefit or for the benefit of another, unless you expressly
                    direct me to do so.

          33.    In consideration for signing the 2015 Agreement, Dalpe was offered, and

accepted, the 2015 Promotion Offer, the result of which Midwest increased Dalpe's base

salary compensation by 14.26 percent.

          34.    In addition to an increase in his base salary compensation, as a result of

accepting 2015 Promotion Offer and signing the 2015 Agreement, Dalpe became eligible

for the Sales Management Bonus Program and the sales vehicle program.

          35.    The Northwest Sales Manager position resulted in an increase in

responsibility within the Midwest Organization including, but not limited to: oversight of

two branches(Portland, Oregon and Seattle, Washington)and an increased focus on market

and sales growth within the branch geographic areas covering the Pacific Northwest, which

included all of Oregon, all of Washington, and portions of Idaho, Alaska, and British

Columbia (the "Pacific Northwest").


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         36.    As the Northwest Sales Manager, Dalpe represented Midwest to both

existing and prospective customers at seminars and trade shows in the region.

         37.    As the Northwest Sales Manager, Dalpe met with and had regular contact

with Midwest existing and prospective customers both in person and by phone and

electronic communications.

         38.    Dalpe acknowledged in the 2015 Agreement "that as part of[his] duties [he]

will develop and maintain close working relationships with [Midwest's] customers," and

he agreed that Midwest has "expended significant time and money on the development of

customer goodwill and a sound business reputation." He further agreed that "any

unauthorized use or disclosure of[Midwest's] confidential information, or any violation of

[Dalpe's] obligation not to solicit [Midwest's] customers or employees or compete with

[Midwest], would seriously harm [Midwest's] business and cause monetary loss that would

be difficult, if not impossible, to measure."

         39.    Midwest invested resources and time in fostering Dalpe's professional

growth (e.g., sales conference attendance, annual trade shows, 3M training, Union Ink

training, and The Kahle Way Sales Management Training in Chicago), and the process of

developing and maintaining close working relationships with Midwest's customers in the

Pacific Northwest was gradual and occurred over a period of several years throughout his

tenure in the Northwest Sales Manager role.

          40.   As the Northwest Sales Manager, Dalpe had knowledge of Midwest's

 products and pricing and would regularly review and approve existing and prospective

 customer pricing quotes and proposals.


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        41.     As the Northwest Sales Manager, Dalpe managed approximately five sales

representatives. He often participated in joint sales calls with the sales representatives to

both existing and prospective customers, and he developed sales and general strategy for

both customers and prospects.

         42.    As the Northwest Sales Manager, Dalpe was intimately involved with the

overall strategy and operations of Midwest at its Portland and Seattle branch locations and

surrounding service areas, and obtained valuable confidential, proprietary, and trade secret

information regarding customer lists; customer preferences; customer and company pricing

and pricing strategies; financial results including sales revenues and profits by customer;

sales representative and other employee compensation data; employee information,

generally; Midwest product strategy; vendor information and pricing related to the same;

and other proprietary information that is not generally known by third parties.

         43.    Dalpe was also privy to and participated in weekly calls with his manager,

the Vice President of Sales, and his five counterpart sales managers from Midwest's other

sales territories, during which confidential and sensitive information was discussed

including, but not limited to, product announcements,key customer sales strategies, overall

Midwest sales strategies for all of Midwest's regions, and individual sales representative

performance.

         44.    On or around February 25, 2019, Dalpe notified Midwest, through his

manager, Pete Weinberg, that he was resigning his employment effective March 8, 2019.

          45.   The covenants and restrictions contained in the 2015 Agreement are intended

to protect Midwest's confidential, proprietary, and trade secret information and Midwest


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requires employees in key sales and management positions to sign similar agreements in a

good-faith effort to protect this information.

                    Dalpe Leaves Midwest to Work for a Competitor
                     in Violation of the Noncompetition Provision

         46.    On or around the same day Dalpe resigned his employment with Midwest,

February 25, 2019, he notified Midwest that he was offered employment with Defendant

Laird and that he intended to begin his employment with Laird after his resignation

effective date, March 8, 2019.

         47.    Laird is a multi-national organization offering services to customers across

North America, including in the Pacific Northwest.

         48.    Among other product areas, Laird representatives consult with their

customers on the application of and they provide signage products and services, including

products and services similar to Midwest's offerings such as acrylics, Alucobond, Dibond,

Gatorfoam, Sintra, Foamboard, Styrene, Banner, and most rigid and flexible industry

substrates.

         49.    Laird offers products and services that compete with the products and

services Midwest offers.

         50.    After Dalpe left Midwest's employ, he began working for Midwest's direct

competitor, Laird, at Laird's Portland, Oregon location, approximately six (6) miles away

from Midwest's Portland branch location.

          51.   As the General Manager of Laird's Portland, Oregon location, Dalpe has and

 will continue to—directly or indirectly—provide products or services that compete with



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Midwest's products or services to entities that were (or are) customers of Midwest during

Dalpe's employment at Midwest.

        52.      Upon information and belief, Laird hired Dalpe because of his extensive

background in plastic distribution at Midwest, which is the same or similar distribution

services for which he was hired to perform and/or manage at Laird and, in fact, Laird touted

this advantage in its public announcement of Dalpe's hiring.

        53.      As of the date of the filing of this Complaint, Dalpe remains currently

employed at Laird as its General Manager of the Portland branch location.

        54.      Dalpe's employment with Laird violates the 2015 Agreement.

              Dalpe Took Midwest's Confidential and Trade Secret Information
                         Without Authorization in Violation of the
                     2015 Agreement and Midwest Employment Policies

        55.      In the ordinary course of its business, Midwest creates lists and reports of its

customers and its customers' associated revenues and sales data. Such compilations of

data are developed by Midwest over time and through substantial effort, are kept in

confidence, and are not otherwise readily ascertainable by third parties, and in particular,

knowledge related to Midwest's customers' annual sales revenues and purchasing patterns

is not generally known within the industry or the general public outside of Midwest.

         56.     Prior to his departure from Midwest, Dalpe surreptitiously took confidential,

proprietary, and trade secret information (the "Converted Information") from Midwest by

emailing the Converted Information from his Midwest e-mail account to a personal e-mail

address over the course of approximately two months leading up to his resignation.

         57.      Midwest learned of Dalpe's improper removal of the Converted Information


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when it performed due diligence to protect the same once it learned Dalpe was going to

work for a direct competitor, and it conducted a search on Dalpe's Midwest e-mail account.

        58.       The Converted Information included, but is not limited to,

       i.      Annual profit and loss statements for Midwest's Oregon territory for years

               ending 2016, 2017, and 2018;

      ii.      Annual profit and loss statements for Midwest's Washington territory for years

               ending 2016, 2017, and 2018;

     iii.      Annual profit and loss statements for Midwest's Pacific Northwest territory for

               years ending 2016 and 2017;

      iv.      Midwest customer account lists containing customer name, customer phone

               number, Midwest sales representative identification number, customer state and

               zip code, and amount of prior year sales revenue by customer for over 2,700

               Midwest customers, as well as lists containing product purchase detail;

       v.      Daily margin reports for years ending 2015,2016,2017,and 2018,each of which

               contains information including, but not limited to, daily margin data broken

               down by all ten states in which Midwest maintains a branch location, daily

               margin data broken down by product/service category, projections and budget

               forecasts for daily margin, daily margin data for all ten states comparing

               budgeted margin versus actual margin;

      vi.      Copy of offer letter and employment agreement for a different Midwest sales

               represent who Dalpe recently hired prior to his resignation; and

      vii.     Internal Midwest meeting agenda for Dalpe's sales team, containing information


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               about: product announcements, sales representative individual performance

               metrics, key customer strategies and updates, and a spreadsheet containing

               customer       names        corresponding        to      specific       product

               preferences/purchases/margins.

         59.      Upon information and belief, Dalpe's explanation for removing Midwest's

confidential and trade secret information without authorization is that he wanted to verify

he would receive his correct commission amount in March 2019.                      However, as

demonstrated above,the numerous profit and loss statements for prior years, customer lists,

offer letters to an employee other than himself, and other data, have nothing to do with

Dalpe's compensation calculation or verification of the same.

         60.      In addition to asking employees, like Dalpe,to sign agreements similar to the

2015 Agreement, Midwest takes additional measures to protect its confidential and trade

secret information including, but not limited to, restricting access to a need-to-know group

of employees and adopting a general Confidential Information employment policy in its

handbook that provides:

                  Information is part of what makes this Company competitive.
                  During your employment here, you will periodically learn
                  sensitive information, either because you help to develop that
                  information or because you need that information to do your
                  job. It is important for the health of this business and for the
                  well-being of employees who depend on this business for their
                  livelihood—that you keep information you learn through your
                  employment confidential.

                   Confidential Information includes customer lists, business
                   systems, strategies, plans, proposals, information on
                   Midwest's processes, R&D data, financial and systems
                   information, trade secrets, financial statements, and any other


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                 information pertaining to the business of Midwest or any of its
                 customers, consultants, licensees, or affiliates, and other
                 information about Midwest's business that has value to
                 Midwest because it is not generally known outside Midwest.


                Except as part of your legitimate job duties for Midwest, you
                must not disclose or permit to be disclosed, either during or
                after your employment with Midwest, any Confidential
                Information to any person or entity for any reason. . . . An
                employee who improperly uses,removes,releases, or discloses
                Confidential Information may face disciplinary action, up to
                and including termination of employment. Employees who
                improperly disclose such information may also be subject to
                legal action.

          61.   The Converted Information is vital to Midwest's business and improp
                                                                                    erly
removing and/or disclosing it, as Dalpe has, is a violation of the 2015
                                                                        Agreement and a
violation of Midwest's important employment policies.

          62.   The 2015 Agreement also provides:

                3. If either you or I terminate my employment,I will deliver to
                you immediately all of your confidential information, in
                whatever format, and will not retain any copies.

         63.    Midwest's employee handbook contains the following provision in its

Company Property policy:

                Upon termination of employment, employees will be required
                to account for and surrender all company property and
                equipment he/she has been provided. Failure to do so would
                result in the Company taking legal action to obtain the return
                of its property.

         64.    Dalpe has received, and has acknowledged receipt of, Midwest's emplo
                                                                                          yee
handbook.

         65.    As of the date of filing this Complaint, Dalpe has not returned, or certifi
                                                                                            ed


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destruction, of any of Midwest's confidential information in his possession, custody, or

control, which is a violation of the 2015 Agreement.

                Laird Is Aware Of Dalpe's Obligations Under the 2015 Agreement

         66.       Midwest informed Mark Kramer, Chief Executive Officer of Laird, of

Dalpe's obligations under the 2015 Agreement and requested Laird not to interfere with

Dalpe's obligations under the 2015 Agreement.

         67.       The 2015 Agreement states the following:

                   8. I will provide a copy ofthis agreement to any employer with
                   whom I interview or accept employment within 12 months of
                   the termination of my employment with you. I agree and
                   acknowledge that the restrictions contained in this Agreement
                   shall survive the termination of my employment.


          68.       On or around the date Dalpe gave his notice ofresignation to Midwest, Dalpe

represented to his manager, Pete Weinberg, Vice President of Sales, that Dalpe informed

Laird of his 2015 Agreement.

          69.       Nevertheless, Dalpe remains employed as the General Manager of Laird's

Portland, Oregon location in violation of Dalpe's 2015 Agreement with Midwest and

despite numerous written requests from Midwest(through counsel), both Laird and Dalpe

refuse to (i) provide even minimal written assurances that Dalpe has ceased accessing and

has destroyed Midwest confidential information, including the Converted Information,(ii)

provide a full written accounting of all of Midwest's data in Dalpe's possession, custody,

or control, and state whether it has been disclosed in violation of the 2015 Agreement;(iii)

turn over Dalpe's personal devices for Midwest's review or, alternatively, to turn over



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Dalpe's personal devices to Laird's counsel for preservation; and (iv) postpone Dalpe's

employment start-date until the matters identified in this Complaint could be resolved.


                                    COUNT I
                               BREACH OF CONTRACT
                                    (DALPE)

         70.    Midwest restates and realleges the foregoing paragraphs of its Complaint.

         71.    Dalpe and Midwest are parties to the 2011 Agreement and the 2015

Agreement, each containing binding covenants and restrictions, and Dalpe executed and

agreed to be bound by the 2011 Agreement and the 2015 Agreement.

         72.    The 2011 Agreement and the 2015 Agreement are each enforceable

contracts.

         73.    Midwest did not waive any of the following agreements: 2011 Agreement

or the 2015 Agreement.

         74.    The post-termination restrictions contained in the 2011 Agreement and the

2015 Agreement are supported by adequate consideration.

         75.    The post-termination restrictions contained in the 2011 Agreement and the

2015 Agreement are narrowly tailored and necessary to protect Midwest's legitimate

business interests, including its customer relationships and confidential information.

          76.   The post-termination restrictions contained in the 2011 Agreement and the

2015 Agreement are reasonable in duration and scope, and Dalpe has never disputed the

reasonableness of the covenants and restrictions.

          77.   Dalpe will or has violated the terms of the 2011 Agreement and/or the 2015



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Agreement, including but not limited to the restrictions on competition, nonsolicitation,

requirements relating to the return of Midwest property, and protection of confidential

information by engaging in conduct during and after his employment with Midwest in

blatant disregard of his obligations not to disclose confidential information or compete with

Midwest for a reasonable period of time.

         78.     Midwest has been, and will continue to be, damaged by Dalpe's breaches of

the agreements set forth above.

         79.     Midwest has been and will continue to be irreparably injured by Dalpe's

breaches ofthe agreements set forth above, and is without a complete and adequate remedy

at law. Midwest is entitled to injunctive relief requiring Dalpe to comply with the

agreement set forth above and preventing future harm caused by Dalpe's breaches.

         80.     As a direct and proximate result of Dalpe's breach of the 2011 Agreement

and/or the 2015 Agreement, Midwest has also suffered damages in excess of $75,000, to

be proven with specificity at trial.

                                   COUNT II
               VIOLATION OF APPLICABLE STATE TRADE SECRET ACTS
                              (DALPE AND LAIRD)

         81.      Midwest restates and realleges the foregoing paragraphs of its Complaint.

         82.      Dalpe was exposed to Midwest's confidential, proprietary and trade secret

information while employed by Midwest, including, but not limited to, its pricing methods

and strategies and formulas for current and prospective customers, compilation ofcustomer

data including lists and reports of its customers and its customers' associated revenues and

sales data. Such compilations of data are developed by Midwest over time and through


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substantial effort, are kept in confidence, and are not otherwise readily ascertainable by

third parties, and in particular, knowledge related to Midwest's customers' annual sales

revenues and purchasing patterns is not generally known within the industry or the general

public outside of Midwest.

          83.    Midwest's confidential, proprietary and trade secret information derives

independent economic value from not being generally known to others, or not being readily

ascertainable through proper means by others.

          84.    Dalpe owed a duty to Midwest to maintain the secrecy of Midwest's

confidential, proprietary and trade secret information and material, and he was aware of

this duty both during and after his employment with Midwest.

          85.    Laird knows or has reason to know that Dalpe acquired Midwest

confidential, proprietary, and trade secret information by improper means, and Laird has a

duty not to appropriate such information.

          86.    Midwest has taken reasonable steps to safeguard its confidential, proprietary,

and trade secret information.

          87.    Dalpe and Laird have used, and will inevitably use and/or disclose,

Midwest's confidential, proprietary and trade secret information. Midwest did not consent

to Laird's and Dalpe's acquisition, misappropriation, disclosure, or use of Midwest's

confidential, proprietary and trade secret information.

           88.   Dalpe has violated applicable state laws regarding the protection of trade

secrets, including the Washington Uniform Trade Secrets Act, RCW § 19.108, the

Minnesota Uniform Trade Secrets Act, Minn. Stat. §§ 325C.01 et seq., and/or the Oregon


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Uniform Trade Secret Act, ORS § 646.471 et seq., through his misappropriation of

confidential, proprietary and trade secret information and materials belonging to Midwest,

and through his acquisition of the information by improper means, and his use of the

information and materials for his own benefit and the benefit of others. Further, certain

misappropriations were made on behalf of Laird, and within Dalpe's scope of his agency

and/or employment with Laird and/or with Laird's knowledge and consent. Thus, Dalpe's

actions are attributable to Laird.

         89.   Laird has violated the Washington Uniform Trade Secrets Act, RCW §

19.108, the Minnesota Uniform Trade Secrets Act, Minn. Stat. §§ 325C.01 et seq., and/or

the Oregon Uniform Trade Secret Act, ORS § 646.471 et seq., through its misappropriation

and use of confidential, proprietary, and trade secret information and materials belonging

to Midwest for its own benefit, knowing or having reason to know that such information

and materials were acquired through improper means, or knowing or having reason to

know that such information and materials were derived from or through a person who owed

a duty to Midwest to maintain its secrecy or limit its use.

         90.   As a direct and proximate result of Laird and Dalpe's violation of the

Washington Uniform Trade Secrets Act, RCW § 19.108, the Minnesota Uniform Trade

Secrets Act, Minn. Stat. §§ 325C.01 et seq., and/or the Oregon Uniform Trade Secret Act,

ORS § 646.471 et seq., Midwest is suffering immediate and irreparable injury, harm and

damage, and will continue to suffer injury, harm and damage and is thereby entitled to

injunctive relief requiring Laird and Dalpe to return Midwest's confidential, proprietary,

and trade secret information and materials and prohibiting further possession, use and


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disclosure by them of such information, and preventing future harm caused by their

violations.

         91.   Dalpe's and Laird's misappropriations of trade secret information was

willful, malicious, and reckless.

         92.   Also as a direct and proximate result of Dalpe and Laird's violation of the

Washington Uniform Trade Secrets Act, RCW § 19.108, the Minnesota Uniform Trade

Secrets Act, Minn. Stat. §§ 325C.01 et seq., and/or the Oregon Uniform Trade Secret Act,

ORS § 646.471 et seq., Midwest is entitled to attorneys' fees, compensatory damages and

exemplary damages in an amount greater than $75,000 to be proven with specificity at trial.

                                COUNT III
                 VIOLATION OF DEFEND TRADE SECRETS ACT
                        (18 U.S.C. § 1836("DTSA"))
                           (DALPE AND LAIRD)

         93.   Midwest restates and realleges the foregoing paragraphs of its Complaint.

         94.   Dalpe was exposed to Midwest's confidential, proprietary and trade secret

information while employed by Midwest, including, but not limited to, its pricing methods

and strategies and formulas for current and prospective customers, compilation ofcustomer

data including lists and reports of its customers and its customers' associated revenues and

sales data. Such compilations of data are developed by Midwest over time and through

substantial effort, are kept in confidence, and are not otherwise readily ascertainable by

third parties, and in particular, knowledge related to Midwest's customers' annual sales

revenues and purchasing patterns is not generally known within the industry or the general

public outside of Midwest.



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          95.   Midwest's confidential, proprietary and trade secret information derives

independent economic value from not being generally known to others, or not being readily

ascertainable through proper means by others.

         96.    Dalpe owed a duty to Midwest to maintain the secrecy of Midwest's

confidential, proprietary and trade secret information and material, and he was aware of

this duty both during and after his employment with Midwest.

         97.    Laird knows or has reason to know that Dalpe acquired Midwest

confidential, proprietary, and trade secret information by improper means, and Laird has a

duty not to appropriate such information.

         98.    Midwest has taken reasonable steps to safeguard its confidential, proprietary,

and trade secret information.

         99.    Dalpe and Laird have used, and will inevitably use and/or disclose,

Midwest's confidential, proprietary and trade secret information. Midwest did not consent

to Laird's and Dalpe's acquisition, misappropriation, disclosure, or use of Midwest's

confidential, proprietary and trade secret information.

         100.   Midwest restates and realleges the foregoing paragraphs of its Complaint.

         101.   Dalpe was exposed to Midwest's confidential, proprietary and trade secret

information while employed by Midwest, including, but not limited to, its customer lists,

the scheduled inspections for its customers, its pricing information and forms/procedures

used to run its business.

         102.   Midwest's confidential, proprietary and trade secret information derives

independent economic value from not being generally known to others, or not being readily


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ascertainable through proper means by others.

        103.    Dalpe owed a duty to Midwest to maintain the secrecy of Midwest's

confidential, proprietary and trade secret information and material. Laird has a duty not to

appropriate such information.

        104.    Midwest has taken reasonable steps to safeguard its confidential and

proprietary information.

        105.    Dalpe and Laird have used, and will inevitably use and/or disclose,

Midwest's confidential, proprietary and trade secret information. Midwest did not consent

to Laird's and Dalpe's misappropriation, disclosure, and use of Midwest's confidential,

proprietary and trade secret information.

         106.   Dalpe has violated DTSA, 18 U.S.C. § 1836, through his misappropriation

and use of confidential, proprietary and trade secret information and materials belonging

to Midwest, and through his acquisition ofthe information by improper means, and his use

of the information and materials for his own benefit and the benefit of others. Further,

certain misappropriations were made on behalf of Laird, and within Dalpe's scope of his

agency and/or employment with Laird and/or with Laird's knowledge and consent. Thus,

Dalpe's actions are attributable to Laird.

         107.   Laird has violated DTSA, 18 U.S.C. § 1836, through its misappropriation

and use of confidential, proprietary, and trade secret information and materials belonging

to Midwest for its own benefit, knowing or having reason to know that such information

and materials were acquired through improper means, or knowing or having reason to

know that such information and materials were derived from or through a person who owed


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a duty to Midwest to maintain its secrecy or limit its use.

         108.     As a direct and proximate result of Laird and Dalpe's violation of DTSA,

Midwest is suffering immediate and irreparable injury, harm and damage, and will continue

to suffer injury, harm and damage and is thereby entitled to injunctive reliefrequiring Laird

and Dalpe to return Midwest's confidential, proprietary, and trade secret information and

materials and prohibiting further possession, use and disclosure by them of such

information, and preventing future harm caused by their violations.

         109.     Dalpe's and Laird's misappropriations of trade secret information was

willful, malicious, and reckless.

         1 10.    Also as a direct and proximate result ofDalpe and Laird's violation ofDTSA,

Midwest is entitled to attorneys' fees, compensatory damages and exemplary damages in

an amount greater than $75,000 to be proven with specificity at trial.

                                     COUNT IV
                             BREACH OF DUTY OF LOYALTY
                                     (DALPE)

          1 11.   Midwest restates and realleges the foregoing paragraphs.

          1 12.   As an employee of Midwest, Dalpe owed a duty of loyalty to Midwest.

          1 13.   While employed by Midwest, Dalpe unlawfully and surreptitiously removed

Midwest's confidential, proprietary, and trade secret information with the intention of

diverting to himself and/or Laird, Midwest's customers, accounts, confidential

information, and business.

          1 14.   Dalpe's acts and omissions, as set forth herein and elsewhere in this

Complaint, constitute breaches of his duty of loyalty to Midwest.


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         115.     Midwest has been, and will continue to be, damaged by Dalpe's breach of

his duty of loyalty.

          1 16.   Midwest will be or has been irreparably injured by Dalpe's breach of his duty

of loyalty, and is without a complete and adequate remedy at law.

          1 17.   Dalpe must be enjoined from continued breaches of his duty of loyalty.

          1 18.   Dalpe must also pay damages in an amount exceeding $75,000 to be

determined with specificity at trial, relative to this breach of his duty of loyalty.

                                   COUNT V
                     TORTIOUS INTERFERENCE WITH CONTRACT
                                   (LAIRD)

          1 19.   Midwest restates and realleges the foregoing paragraphs of its Complaint.

          120.    Laird knows that Dalpe has non-competition, non-solicitation and non-

disclosure restrictions in the form of his 2015 Agreement with Midwest.

          121.    Laird has procured the breach of the 2015 Agreement intentionally and

without justification.

          122.    As a result of the procurement of contractual breaches, Midwest suffered,

and will continue to suffer, irreparable harm.

           123.   To remedy this tortious interference, Laird must be enjoined from procuring

or facilitating Dalpe's continued breaches of his agreements. Laird must also pay damages

in an amount greater than $75,000 to be determined at trial, including but not limited to

Midwest's attorneys' fees to enforce Dalpe's agreements.




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                                        COUNT VI
                                   UNFAIR COMPETITION
                                   (DALPE AND LAIRD)

        124.       Midwest restates and realleges the foregoing paragraphs of its Complaint.

        125.       Defendants' tortious interference with Midwest's contractual relationships;

misappropriation of confidential, proprietary, and trade secret information from Midwest;

and their use of such information to the detriment of Midwest, as described above,

constitute unfair competition in violation of the common law.

        126.       Defendants' unfair competition has damaged or will cause damage to

Midwest, which has suffered, and will continue to suffer, irreparable harm that justifies

enjoining Defendants from their illegal and improper actions, plus attorneys' fees and

damages from Defendants in an amount greater than $75,000 to be proven with specificity

at trial.

                                        COUNT VII
                                   AIDING AND ABETTING
                                    (DALPE AND LAIRD)

         127.      Midwest restates and realleges the foregoing paragraphs.

            128.   Defendants, individually and collectively, aided and abetted the other's

wrongful conduct towards Midwest, including but not limited to their misappropriation of

information and their tortious interference with Midwest's business relations and

prospective contractual and/or business relations.

            129.   Defendants are, therefore, jointly and severally liable for such aiding and

abetting.

            130.   Midwest has been, and will continue to be, damaged by Defendants' aiding


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and abetting.

         131.   Midwest will or has been irreparably injured by Defendants' aiding and

abetting and is without a complete and adequate remedy at law.

         132.   Defendants' must be enjoined from continued aiding and abetting.

         133.   Defendants must also pay damages in an amount greater than $75,000 to be

determined with specificity at trial relative to this aiding and abetting.



         WHEREFORE, Midwest prays that this Court enter judgment in its favor and

against Defendants Dalpe and Laird:

          1.    Enjoining Dalpe from violating the terms of his 2015 Confidentiality,

Nonsolicitation and Noncompetition Agreement(the "2015 Agreement");

         2.     Enjoining Dalpe from working for or assisting Laird in any capacity that

competes with Midwest in violation of the 2015 Agreement;

         3.     Enjoining Dalpe from providing products or services to any entity that was a

customer of Midwest's during his employment with Midwest;

         4.     Enjoining Laird from procuring and/or aiding Defendant Dalpe's breach of

the 2015 Agreement;

          5.    Enjoining Defendants from maintaining, using or disclosing any confidential

or trade secret information belonging to Midwest.

         6.     Ordering Defendants to produce to Midwest all devices (including

computers, hard drives, smartphones, and/or other electronic storage devices) and




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credentials for all accounts where Midwest confidential or trade secret information has or

does reside for purposes of forensic examination by Midwest at Defendants' expense.

         7.     Enjoining Defendants, until forensic copies or similar replicas are created

pursuant to the preceding paragraph, from deleting, destroying, changing or otherwise

altering the electronic devices/computers described in the preceding paragraph.

         8.     Ordering that Midwest not be required to post a bond.

         9.     Awarding Midwest its reasonable attorneys' fees for bringing this motion

pursuant to the 2015 Agreement, Minn. Stat. § 325C.04, 18 U.S.C. § 1836(b)(3)(D), the

Minnesota Supreme Court's decision in Kallok v. Medtronic, 573 N.W.2d 356 (Minn.

1998), and/or other applicable authority. Ordering Midwest to submit an affidavit in

support of its request for attorneys' fees within 14 days of this Order.

          10.   Awarding Midwest pre- and post-judgment interest, costs and disbursements

as permitted by law, and all other relief that the Court deems just and equitable.



 Dated: April 8, 2019
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